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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:    Agnes L. Hayes, Debtor                                Case No. 17-04633-JAW
                                                                         CHAPTER 13


   APPLICATION TO BE EMPLOYED AS SPECIAL COUNSEL NUNC PRO TUNC
       COMES NOW, Morgan and Morgan (“Applicant”), by and through undersigned counsel,
and pursuant to 11 U.S.C. §327(e) and F.R.B.P. 2014(a), files this Application to be Employed
Special Counsel Nunc Pro Tunc in the above Chapter 13 bankruptcy case and in support hereof
would show unto the Court the following, to wit:
   1. That Morgan & Morgan represents that in the administration of the Debtors’ estate, it has
      been determined necessary to employ Special Counsel to provide assistance with the
      prosecution of the Debtor’s personal injury claim.

   2. That the Applicant desires to be employed to render services in connection with the claim
      as Special Counsel in a personal injury claim.

   3. That it would be in the best interests of the estate that said firm be employed.

   4. That Morgan & Morgan was retained by debtor post-petition in July 2021. This
      Application was not filed earlier because Morgan and Morgan has only performed
      investigatory work on the file. Once it was determined that the claim has value, the
      Application to be Employed as Special Counsel was filed. Further, the bankruptcy case
      was dismissed and subsequently reinstated shortly after the claim arose.

   5. An attorney for the firm has attached his affidavit hereto, stating that the firm is a
      disinterested party to Debtor’s estate. See Exhibit “A”.

   6. The Order Employing Morgan & Morgan is required nunc pro tunc because, as mentioned,
      Morgan and Morgan has incurred expenses in the amount of $530.30 investigating this
      claim and will seek reimbursement for these expenses at the time a future settlement is
      brought before the Court for approval.

   7. That no formal demand has been made and a suit has not been filed.

   8. That in consideration of said representation, Morgan & Morgan will receive a contingency
      fee and reimbursement of costs, the total of which will not exceed 50% of the total
      recovery.

   9. The approval of this application will not prejudice any party in interest and could be
      beneficial to the Debtor’s bankruptcy estate if the litigation is successful and the Debtor
      receives a settlement or a verdict in their favor.
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        WHEREFORE PREMISES CONSIDERED, Applicant prays that the Court enter an
Order authorizing the employment of Morgan & Morgan as Special Counsel for the Debtor under
the provisions set forth herein and by Order of this Court.

                                             Respectfully submitted,

                                             Morgan & Morgan, APPLICANT

                                             BY:
                                             /s/ Thomas C. Rollins, Jr.
                                             Thomas C. Rollins, Jr. (MSBN 103469)
                                             Jennifer A Curry Calvillo (MSBN 104367)
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                                CERTIFICATE OF SERVICE
I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above Motion to
was forwarded on December 1, 2022 to the debtor, creditors, case trustee and U.S. Trustee as
indicated in the “21 day notice” that accompanies this Application.


                                             /s/ Thomas C. Rollins, Jr.
                                             Thomas C. Rollins, Jr. (MSBN 103469)
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